Case 2:17-cv-04261-KM-JBC Document 187 Filed 08/26/20 Page 1 of 2 PageID: 7475




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                                        August 26, 2020

VIA ECF
Hon. James B. Clark, III, U.S.M.J.
United States District Court
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101


       Re:     DVL, Inc. and DVL Kearny Holdings, LLC v. Congoleum Corporation and
               Bath Iron Works Corporation; U.S. District Court, District of New Jersey,
               Civil Action No. 2:17-cv-04261

Dear Judge Clark:

       Please allow this letter to serve as a request by the parties in this matter to schedule a
settlement conference before Your Honor. Enclosed with this letter is the Order entered by the
bankruptcy court which lifted the automatic stay for purposes of a settlement conference
proceeding.

         The parties understand that the Court is holding September 16, 2020 at 2 PM as a date for
the conference, and DVL and BIW respectfully request that the conference be scheduled for that
time. Congoleum’s bankruptcy counsel raised concern that Congoleum’s insurer, Liberty Mutual,
may not be ready to proceed on that date, and Congoleum’s counsel in this action has concern with
the proposed date because it still has not been approved for retention by the Bankruptcy Court.
Congoleum therefore requests a status call with Your Honor in the near future to discuss its
concerns and address scheduling of the settlement conference. If Your Honor does not schedule a
status call, Congoleum requests that the settlement conference be scheduled for late in September.
While DVL and BIW believe September 16th is far enough out to permit appropriate preparation,
in the event the conference is scheduled for a later date BIW requests that the conference be held
no later than September 29, 2020. There is a hearing tentatively scheduled in the bankruptcy
matter on September 30, 2020 to confirm a sale of Congoleum’s assets, and BIW desires to have
the settlement conference prior to that hearing.

      The parties also respectfully request instruction from Your Honor in regard to Your
Honor’s preferences relating to the conference, such as the timing, content and/or limitations for
Case 2:17-cv-04261-KM-JBC Document 187 Filed 08/26/20 Page 2 of 2 PageID: 7476




any written submissions, as well as whether there are any attendees expected beyond those
specified in the Your Honor’s Pre-Trial Scheduling Order (ECF 42). The parties also would
appreciate clarification of how Your Honor has been handling such conferences with current
COVID related restrictions. If the Court would like to conference on the scheduling issues or
procedural issues with counsel, we of course will make ourselves available at Your Honor’s
convenience.

                                          Respectfully,

                                          /s/ Eitan D. Blanc
                                          Eitan D. Blanc
                                          Anthony R. Twardowski
Enclosure
Cc: All counsel of record (via ECF)
Warren Usatine, Esq. (Via E-mail)
